Information to identify the case:
Debtor 1              Mark Alan Fontenot                                                Social Security number or ITIN        xxx−xx−8742
                      First Name   Middle Name   Last Name                              EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                        EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court            Western District of Louisiana                 Date case filed for chapter 7 on December 11,
                                                                                        2019
Case number:          19−51477


Official Form 309B (For Individuals or Joint Debtors)
Notice of Chapter 7 Bankruptcy Case − Proof of Claim Deadline Set                                                                         12/15

For the debtors listed above, a case has been filed under chapter 7 of the Bankruptcy Code. An order for relief has
been entered.

This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.

The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not
take action to collect debts from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot
sue, garnish wages, assert a deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot
demand repayment from debtors by mail, phone, or otherwise. Creditors who violate the stay can be required to pay actual and
punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days or not exist at all,
although debtors can ask the court to extend or impose a stay.

The debtors are seeking a discharge. Creditors who assert that the debtors are not entitled to a discharge of any debts or who
want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within
the deadlines specified in this notice. (See line 9 for more information.)

To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at
the address listed below or through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.

Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.



                                             About Debtor 1:                                          About Debtor 2:

1.    Debtor's full name                     Mark Alan Fontenot

2.    All other names used in the
      last 8 years

3.    Address                                101 Oaktree Lane
                                             Rayne, LA 70578

4.    Debtor's attorney                      Noel Steffes Melancon                                    Contact phone (225) 751−1751
                                             The Steffes Firm, LLC
      Name and address                       13702 Coursey Blvd., Building #3                         Email: nmelancon@steffeslaw.com
                                             Baton Rouge, LA 70817

5.    Bankruptcy trustee                     Elizabeth G. Andrus                                      Contact phone (337) 981−3858
                                             500 Dover Blvd, Suite 334
      Name and address                       Lafayette, LA 70503
                                                                                                               For more information, see page 2 >
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Debtor Mark Alan Fontenot                                                                                                             Case number 19−51477

6. Bankruptcy clerk's office                800 Lafayette Street, Suite 1200                                         Office Hours Monday − Friday 8:00AM −
                                            Lafayette, LA 70501                                                      5:00 PM, Electronic Filing Access 24/7
   Documents in this case may be
   filed at this address. You may                                                                                    Contact phone (337) 262−6800
   inspect all records filed in this case
   at this office or online                                                                                          Date: 12/11/19
   at www.pacer.gov.

7. Meeting of creditors                     January 23, 2020 at 09:00 AM                                             Location:

   Debtors must attend the meeting to       The meeting may be continued or adjourned to a later                     800 Lafayette St, Room 3014, 3rd
   be questioned under oath. In a joint                                                                              Floor, Lafayette, LA 70501
   case, both spouses must attend.          date. If so, the date will be on the court docket.
   Creditors may attend, but are not
   required to do so.                                    *** Valid photo identification required ***

8. Presumption of abuse                     The presumption of abuse does not arise.

   If the presumption of abuse arises,
   you may have the right to file a
   motion to dismiss the case under
   11 U.S.C. § 707(b). Debtors may
   rebut the presumption by showing
   special circumstances.

9. Deadlines                                File by the deadline to object to discharge or to                         Filing deadline: 60 days following
                                            challenge whether certain debts are dischargeable:                        the first date set for the meeting of
   The bankruptcy clerk's office must                                                                                 creditors as set forth in Bankruptcy
   receive these documents and any          You must file a complaint:
   required filing fee by the following     • if you assert that the debtor is not entitled to                        Rule 4004 and 4007, unless extended
   deadlines.                                 receive a discharge of any debts under any of the                       by court order.
                                              subdivisions of 11 U.S.C. § 727(a)(2) through (7), or
   Personal Financial Management:                                                                                     Discharge Issuance: A discharge
   Debtor(s) must file Official Form        • if you want to have a debt excepted from discharge
   B423 within 60 days after first date       under 11 U.S.C § 523(a)(2), (4) or (6).                                 issuance date is scheduled in this case
   set for meeting of creditors under § You must file a motion:                                                       for March 30, 2020, although no
   341 of the Code in a Chapter 7                                                                                     hearing will be held.
   case. Failure to file certification will • if you assert that the discharge should be denied
   result in case being closed without        under § 727(a)(8) or (9).
   entry of discharge. If the debtor(s)
   subsequently files a motion to           Deadline for all creditors to file a proof of claim                       Filing deadline: ___________
   reopen the case to allow for filing of
   Official Form B423, the debtor(s)        (except governmental units):
   must pay the full reopening fee due Deadline for governmental units to file a proof of                             Filing deadline: ___________
   for filing the motion.                   claim:

                                            Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                            at www.uscourts.gov or any bankruptcy clerk's office. If you do not file a proof of claim by the deadline, you might
                                            not be paid on your claim. To be paid, you must file a proof of claim even if your claim is listed in the schedules
                                            that the debtor filed.
                                            Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                            claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain. For
                                            example, a secured creditor who files a proof of claim may surrender important nonmonetary rights, including the
                                            right to a jury trial.


                                            Deadline to object to exemptions:                                         Filing deadline: 30 days after the
                                            The law permits debtors to keep certain property as exempt. If you        conclusion of the meeting of creditors
                                            believe that the law does not authorize an exemption claimed, you
                                            may file an objection.

10. Creditors with a foreign                 If you are a creditor receiving a notice mailed to a foreign address, you may file a motion
    address                                  asking the court to extend the deadlines in this notice. Consult an attorney familiar with
                                             United States bankruptcy law if you have any questions about your rights in this case.
11. Liquidation of the debtor's              The bankruptcy trustee listed on the front of this notice will collect and sell the debtor's
    property and payment of                  property that is not exempt. If the trustee can collect enough money, creditors may be paid
    creditors' claims                        some or all of the debts owed to them in the order specified by the Bankruptcy Code. To
                                             ensure you receive any share of that money, you must file a proof of claim as described
                                             above.
12. Exempt property                          The law allows debtors to keep certain property as exempt. Fully exempt property will not be
                                             sold and distributed to creditors. Debtors must file a list of property claimed as exempt. You
                                             may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you
                                             believe that the law does not authorize an exemption that the debtors claim, you may file an
                                             objection. The bankruptcy clerk's office must receive the objection by the deadline to object
                                             to exemptions in line 9.
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